
371 U.S. 17 (1962)
PACCIONE
v.
HERITAGE, WARDEN.
No. 98, Misc.
Supreme Court of United States.
Decided October 8, 1962.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT.
Petitioner pro se.
Solicitor General Cox, Assistant Attorney General Marshall, Harold H. Greene and David Rubin for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. Upon the suggestion of the Solicitor General and an examination of the entire record, the judgment of the United States Court of Appeals for the Fifth Circuit is vacated and the case is remanded to that court for further proceedings in which the petitioner is to be accorded the opportunity to present oral argument on the merits of his appeal, either personally or through counsel, to the same extent as such opportunity is accorded to the United States Attorney.
MR. JUSTICE GOLDBERG took no part in the consideration or decision of this case.
